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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                             Case No. 87-CR-80933-04

 v.                                                    Hon. Gerald E. Rosen

 OTIS BERNARD CHAMBERS,

            Defendant.
 _________________________________/

                             ORDER DENYING DEFENDANT’S
                             MOTION TO AMEND JUDGMENT

                                 At a session of said Court, held in
                              the U.S. Courthouse, Detroit, Michigan
                              on _____________________________

                             PRESENT: Honorable Gerald E. Rosen
                                      Chief Judge, United States District Court

        By motion filed on August 7, 2012, Defendant Otis B. Chambers requests that the

 Court amend his March 24, 1989 judgment of conviction to reflect that a $350,000 fine

 imposed in this judgment is no longer enforceable due to the passage of time. In support

 of this request, Defendant evidently relies on the version of 18 U.S.C. § 3613 that was in

 effect at the time of his sentencing — specifically, a portion of this statute providing that

 a defendant’s “liability to pay a fine expires . . . twenty years after the entry of the

 judgment.” 18 U.S.C. § 3613(b) (1989).1


        1
          This statute has since been amended, and now provides that a defendant’s “liability to
 pay a fine shall terminate the later of 20 years from the entry of judgment or 20 years after the
 release from imprisonment of the person fined.” 18 U.S.C. § 3613(b) (2000).
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        Although Defendant might well be correct that he can no longer be held liable for

 payment of the $350,000 fine imposed in the March 24, 1989 judgment, he fails to

 suggest a basis for amending this judgment to reflect the apparent impact of § 3613(b).

 This Court’s authority to modify a sentence after it is imposed is narrowly circumscribed,

 see, e.g., United States v. Akinrosotu, 637 F.3d 165, 167 (2d Cir. 2011) (observing that a

 district court has no generalized, free-standing authority to modify a fine imposed as an

 independent component of a defendant’s sentence), and Defendant has not identified any

 rule or statute that would permit the amendment he seeks here. Instead, what he evidently

 seeks is an advisory opinion from this Court confirming that § 3613(b) means what it

 says, and that any effort to collect the outstanding balance of his $350,000 fine would

 therefore be improper. The Court believes that any such prospective statement as to the

 impact of § 3613(b) would not be appropriate, and that Defendant instead should invoke

 this statutory provision as a defense to any enforcement effort that the Government might

 elect to pursue, whether in this forum or elsewhere.2


        2
           To the extent that Defendant suggests that the Court offered such an advisory opinion in
 the case of his brother, co-defendant Billy Joe Chambers, the circumstances presented in that
 case were different. In particular, the Court did not grant Billy Joe Chambers’ request to
 altogether waive or dismiss his fine, but instead exercised its more modest authority under 18
 U.S.C. § 3583(e)(2) to modify the conditions of his supervised release by decreasing the amount
 of his monthly payment toward his fine. See Akinrosotu, 637 F.3d at 167-68 (recognizing a
 district court’s authority to modify the payment terms of the portion of a fine that remains
 outstanding at the commencement of a defendant’s period of supervised release). Although the
 Court noted in passing in an accompanying order that Billy Joe Chambers’ fine would “expire
 twenty (20) years from the date of his December 9, 1992 resentencing,” (3/21/2011 Order at 1),
 the amended judgment issued by the Court operated only to modify his monthly payments
 “toward the balance of his $500,000.00 fine while on Supervised Release until the fine is paid in
 full or expires,” (3/21/2011 Amended Judgment at 5 (emphasis added)), without stating any

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        For these reasons,

        NOW, THEREFORE, IT IS HEREBY ORDERED that Defendant’s August 7,

 2012 motion to amend judgment and commitment order (docket #1572) is DENIED.



                             s/Gerald E. Rosen
                             Chief Judge, United States District Court

 Dated: January 3, 2013

 I hereby certify that a copy of the foregoing document was served upon the parties and/or
 counsel of record on January 3, 2013, by electronic and/or ordinary mail.

                             s/Julie Owens
                             Case Manager




 view as to when this expiration would occur. Because Defendant here seeks no similar relief
 from the terms under which he must pay the outstanding balance of his fine, but instead requests
 an amended judgment reflecting that any such outstanding balance is no longer collectible, the
 relief awarded to his brother is immaterial to the disposition of the present motion.

                                                3
